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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA                     :

               v.                            :
                                                     Criminal No. 1:20-cr-00337-GLR
STEPHEN SNYDER,                              :

               Defendant.                    :

------------------------------ X



              MOTION OF STEPHEN L. SNYDER, DEFENDANT, TO SEAL

       Stephen L. Snyder, Defendant, moves to seal Defendant’s correspondence of today’s date,

filed contemporaneous with this Motion. On June 2, 2022, the Court entered an Order [ECF 91]

directing the parties to submit a status report within 90 days indicating the status of appellate

proceedings related to Case No. SAG-21-556. Orders have been entered sealing the proceedings.

This correspondence relates to the status report and concerns information under seal. As a result,

the Defendant is currently required to maintain the confidentiality of the contents of Defendant’s

correspondence, and asks that the Court allow it to be filed under seal to maintain the

confidentiality of such material.




                                                            /s/
                                             Arnold M. Weiner, Bar No. 01605
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                                             Stuart A. Cherry, Bar No. 28012
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                                                 1
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 8th day of September, 2022, copies of the within Motion

of Stephen L. Snyder, Defendant, to Seal and the proposed Order were served on Government

counsel via ECF electronic filing.



                                                       /s/
                                          Arnold M. Weiner, Bar No. 01605




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